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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

Plaintiff,
v. CASE NO. 17-CR-03690-AJB
MORGAN ROCKCOONS, NOTICE OF MOTION AND
MOTION TO MERGE
Defendant. COUNTS 3 AND 4 OF THE
SUPERSEDING INDICTMENT
AND SEVER COUNTS 1 AND 2

 

TO: ADAM L. BRAVERMAN, UNITED STATES ATTORNEY; AND
JONATHAN SHAPIRO, ASSISTANT UNITED STATES ATTORNEY:
I.
NOTICE OF MOTION
PLEASE TAKE NOTICE that on December 10, 2018, at 2:00 p.m., or as
soon thereafter as counsel may be heard, Defendant Morgan Rockcoons, by and
through his counsel, David Z. Chesnoff, Esq., and Richard A. Schonfeld, Esq., of
the law firm of Chesnoff & Schonfeld, will ask this Honorable Court to enter an
order granting his Motion to Merge Counts 3 and 4 of the Superseding Indictment

and Sever Counts | and 2.

 
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This Motion is based upon the papers and pleadings on file herein, the
Memorandum of Points and Authorities in support therefor and any argument that
may be heard.

Dated this 3rd day of December, 2018.
Respectfully Submitted:

/s/ Richard A. Schonfeld
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MEMORANDUM OF POINTS AND AUTHORITIES
I. Introduction

Defendant Morgan Rockcoons (“Mr. Rockcoons”), was initially charged
with two counts in the Indictment filed on November 8, 2017. Specifically, Mr.
Rockcoons originally faced one count of violating 18 U.S.C. § 1960, and one count
of violating 18 U.S.C. § 1956. The government’s original charges were based on
an undercover law enforcement officer allegedly representing to Mr. Rockcoons
that said currency used to purchase the Bitcoin was from proceeds of
manufacturing and distributing “hash oil” (the government apparently assumes Mr.
Rockcoons was aware that the alleged “hash oil” contained tetrahydrocannabinols,
an alleged Schedule I Controlled Substance in violation of Title 21 Section
841(a)(1)).

The time frame of the alleged conduct in the initial Indictment spanned
between “on or about December 30, 2016 through on or about January 8, 2017" for
Count 1, and “from a date unknown through on or about August 30, 2017 for Count
2.

On October 24, 2018, the government filed a sealed Superseding Indictment
adding four counts of wire fraud in violation of 18 U.S.C. 1343 (Counts 3-6), ECF
29. The Superseding Indictment was unsealed by order of the court on October 29,
2018. Regarding the new wire fraud charges, the government charges that between
“May 2018 through on or about October 12, 2018" Mr. Rockcoons conducted a
scheme to defraud and that he allegedly:

operate[d] the website www.bitcointopia.org to promote a real
estate development he called "Bitcointopia" in Elko County,
3 . It was further part of the scheme that through the website

www. bitcointopia.org, defendant would solicit members of the
public to purchase land in exchange for bitcoin.

 

 
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4. It was further part of the scheme that defendant would falsely
state on the website www. bitcointopia.org, "The land is currently
owned by Bitcointopia, Inc corporation,” and "500-1000 Acre
plots are for sale for 0. 5 [bitcoin] per acre," when in fact
defendant owned two non-contiguous parcels of land in Elko
County totaling less than five acres.

5. It was further part of the scheme that defendant would offer to
sell land in Bitcointopia, and accept bitcoin as payment for land
purchases, when in fact he had no land to sell.

6. It was further part of the scheme that defendant
ROCKCOONS would lull buyers into not requesting their money
back and not reporting defendant's scheme to law enforcement
by falsely stating he submitted the buyer's deed to the purchased
land to county officials for filing when in fact he had not
submitted a deed.

The Superseding Indictment continues:

7. On or about the dates set forth below, within the Southern
District of California and elsewhere, defendant ROCKCOONS,
for the purpose of executing the above~described scheme to
defraud, and to obtain money by means of material false and
fraudulent pretenses, representations and promises, knowingly
caused. the following writings, signs, signals, pictures and
sounds to be transmitted by means of wire communication in
interstate commerce:

 

Count

Approximate Date Wire:

 

6-27-18 Wire transmission from
www.bitcointopia.or stating, "500-

1000 Acre plots are for sale for 0.5

ETC per acre”

 

6-27-18 Wire transmission from
www,bitcointopia.org stating, "Buy
an

 

7-20-18 Wire transmission of Telegram

message from Las Vegas, Nevada, to |
7-20-2018 San Diego, California, stating,
“will be sometime in Aug for deed,
submitted it June 29"

 

 

8-2-18

 

 

Wire transmission of Twitter direct
8-2-2018 message from Las Vegas, |
Nevada, to San Diego, California, stating,
“T did submit your deed to the county”

 

 

 

 
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II. Argument

A. LEGAL STANDARD:

Under the Federal Rules, “[a] party may raise by pretrial motion any defense,
objection, or request that the court can determine without a trial of the general
issue.” FED. R. CRIM. P. 12(b)(2). Consideration of the motion is typically
appropriate if a question of law is involved. See United States v. Shortt
Accountancy Corp., 785 F.2d 1448, 1452 (9th Cir. 1986). A district court may
make preliminary findings of fact necessary to decide the questions of law
presented in the motion, as long as the court’s findings do not invade the province
of the ultimate fact finder. See id.

In addition, FED. R.CRIM.P. 12(b)(3)(B) states that a “motion alleging a
defect in the indictment or information” must be made prior to trial, “but at any
time while the case is pending, the court may hear a claim that the indictment or
information fails to invoke the court’s jurisdiction or to state an offense.” Rule
7(c)(1) of the Federal Rules of Criminal Procedure also provides that an indictment
“must be a plain, concise and definite written statement of the essential facts
constituting the offense charged.” FED. R. CRIM. P. 7(c)(1).

Rule 12 provides that a defendant may contest “defect[s] in the indictment”
including “lack of specificity” and “failure to state an offense[.]” Fed. R. Crim. P.
12(b)(3)(B)(iii) & (v).

“{A]n indictment must furnish the defendant with a sufficient description of
the charges against him to enable him to prepare his defense, to ensure that the
defendant is prosecuted on the basis of facts presented to the grand jury, to enable
him to plead jeopardy against a later prosecution, and to inform the court of the
facts alleged so that it can determine the sufficiency of the charge.” United States
v. Cecil, 608 F.2d 1294, 1296 (9th Cir. 1979).

 
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B. THE COURT SHOULD BIFURCATE/SEVER COUNTS 1
AND 2 FROM THE NEW COUNTS OUTLINED IN THE
SUPERSEDING INDICTMENT:

Federal Rule of Criminal Procedure 8 states in part:

(a) Joinder of Offenses. The indictment or information may
charge a defendant in separate counts with 2 or more offenses if
the offenses charged--whether felonies or misdemeanors or
both--are of the same or similar character, or are based on the
same act or transaction, or are connected with or constitute
parts of a common scheme or plan.

(emphasis added).

In addition, Federal Rule of Criminal Procedure 14 permits the district court
to “order separate trials of counts” at its discretion “[i]f the joinder of offenses ...
in an indictment ... appears to prejudice a defendant.” Fed.R.Crim.P. 14(a).

Thus, “[e]ven if joinder is permissible under Rule 8, a party who feels
prejudiced by joinder may move to sever pursuant to [Rule] 14.” United States v.
Smith, 795 F.2d 841, 850 (9th Cir. 1986), cert. denied, 481 U.S. 1032, 107 S.Ct.
1964, 95 L.Ed.2d 535 (1987).

Federal Rule of Criminal Procedure 14 states in part:

a) Relief. Ifthe joinder of offenses or defendants in an indictment,
an information, or a consolidation for trial appears to prejudice a
defendant or the government, the court may order separate trials
of counts, sever the defendants’ trials, or provide any other relief
that justice requires.

As succinctly stated by the court in United States v. Scivola:

Generally, there are three types of prejudice that may result from
trying a defendant for several different offenses at one trial: (1)
the defendant may become embarrassed or confounded in
presenting separate defenses; (2) proof that defendant is guilty of
one offense may be used to convict him ofa second offense, even
though such proof would be inadmissible in a separate trial for the
second offense; and (3) a defendant may wish to testify in his own
behalf on one of the offenses but not another, forcing him to
choose the unwanted alternative of testifying as to both or
testifying as to neither.

766 F.2d 37, 41-42 (1st Cir.1985).

 

 
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In United States v. Terry, 911 F.2d 272 (9th Cir. 1990), the Ninth Circuit
Court of Appeals found that the defendant was prejudiced by the joinder of an
unrelated drug charge with a felon-in-possession charge because “[a] juror would
inevitably be more disturbed about the idea of a ‘drug dealer’ with a gun than a
citizen who previously had committed some unknown crime.” Terry, 911 F.2d at
277. The Terry court stated in part:

The indictment in the case at bar clearly fails to allege an

commonality between the first two counts and count III. Count

and II describe an event occurring on June 9, 1988 in San Joaquin
County. Count III describes an event occurring on June 22, 1988
in another city and county. The drug crimes referred to in Counts
I and II are wholly different from the possession of a firearm
charge in Count III. No effort is made in the indictment even to
suggest that the offenses are of the same or similar character or

that they are part of the same transaction or parts of a common
scheme.

See id. at 276; see also U.S. v. Ramirez, 112 F.3d 518 (9" Cir. 1997) (unpublished).

Likewise, here, the government has added new “wire fraud” charges which
completely differ from Counts 1 and 2 in time, as well as the nature and facts
involved. The only commonality is that Bitcoin was allegedly used. That is the
extent of the similarity between Counts 1-2 and 3-6.

Again, the charges in the initial Indictment relate to Mr. Rockcoons’ alleged
interactions with an undercover agent who represented that he wanted to purchase
Bitcoin from him for purposes of buying a fictitious “butane extractor” to make
“hash oil.”

Those allegations are at least a year prior to the time frame in the
Superseding Indictment, and the new charges are completely unrelated, as Mr.
Rockcoons is now accused of allegedly selling land in Elko, Nevada online in
exchange for Bitcoin. Thus, the new charges have nothing to do with alleged

money laundering at the request of an undercover law enforcement agent.

 

 
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Here, a trial with all of the charges would clearly be prejudicial as Counts 1-
2 relate to alleged laundering of controlled substance proceeds.

Moreover, not only may Mr. Rockcoons wish to testify as to only one of the
set of events, but the jury may also be tempted to use one offense to convict Mr.
Rockcoons of the others. Also, Mr. Rockcoons will be confounded in presenting
separate defenses as the charges in Counts 1 and 2 would also apparently be used
by the government as improper character evidence to prosecute the new wire fraud
charges. See also, e.g., U.S. v. Braig, 702 F.Supp. 547 (E.D.Pa.1989).

In Braig, the defendant was entitled to sever charges of mail fraud from a
charge of extortion under the Hobbs Act because the offenses differed in time,
victim, as well as the nature and facts involved. See id. The only commonality was
the fact that the defendant was a judge at the time the offenses were allegedly
committed. See id.; see also U.S. v. Lugo, 269 F.Supp. 757 (E.D. Wis. 1967) (where
indictment joining defendant with two other defendants did not connect the acts of
the three defendants and did not disclose facts necessary to make joinder proper,
defendant was entitled to a severance); United States v. Diaz—Munoz, 632 F.2d
1330 (Sth Cir.1980).

In U.S. v. Kinsella, 530 F.Supp.2d 356 (D.Me. 2008), the defendant was
charged with drug offenses and failure to appear. The court held that the defendant
was entitled to sever counts, where the reason for his failure to appear could be
admissible to rebut an inference of consciousness of guilt in connection with the
drug charges, but was likely inadmissible in connection with the failure to appear
count. The court held that a joint trial would prejudice his Fifth Amendment right
not to testify by forcing him to choose between incriminating himself as to the

failure to appear charge and testifying as to the drug charges.

 
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Accordingly, the new charges in Counts 3-6 are prejudicial and improperly
joined, and the requested remedy at this time should be severance.'

C. COUNTS 3 AND 4 SHOULD MERGE AS THEY RELATE TO

THE SAME ALLEGED WEBSITE POSTING AND ARE
MULTIPLICITOUS AND VIOLATE DOUBLE JEOPARDY:

The protections afforded by the Double Jeopardy Clause include; (1)
protection against a second prosecution for the same offense after acquittal, (2) a
second prosecution for the same offense after conviction, and (3) multiple
punishments for the same offense. See North Carolina v. Pearce, 395 U.S. 711,
717 (1969); Whalen v. United States, 445 U.S. 684, 688 (1980) (It is well
established that “the Fifth Amendment guarantee against double jeopardy protects
not only against a second trial for the same offense, but also against multiple
punishments for the same offense.”).

Also, multiplicity in the indictment may “unfairly suggest that more than one
crime has been committed.” United States v. Swafford, 512 F.3d 833, 844 (6th Cir.
2008). An indictment is multiplicitous when it charges a single offense as an
offense multiple times, in separate counts, when, in law and fact, only one crime
has been committed. See U.S. v. Stewart, 420 F.3d 1007, 1013-14 (9th Cir. 2005).

The test for multiplicity is whether each count charged requires proof of a
fact which the other does not. Blockburger v. United States, 284 U.S. 299, 304
(1932).

The remedy for multiplicitous counts is to require the government to elect
on which count it will proceed to trial. See United States v. Seda, 978 F.2d 779, 782
(2d Cir. 1992); United States v . Feldhacker, 849 F.2d 293, 298 (8th Cir. 1988).

 

'Mr. Rockcoons reserves the right to seek dismissal of all counts.

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Here, according to the Indictment, Counts 3 and 4 are apparently based on
the same alleged web posting on the same alleged date. They also relate to the
same alleged subject matter. The alleged misrepresentation in Count 3 simply
states: “500-1000 Acre plots are for sale for 0.5 ETC per acre” and the alleged
misrepresentation in Count 4 simply states: “Buy Land”.

The government’s suggestion that each alleged representation on the same
web page constitutes a different count is the epitome of multiplicity because it
suggests more than one crime has been committed. The government should not be
permitted to charge the same alleged web page post as two counts.

Accordingly, Counts 3 and 4 should merge, or the government should be
required to elect whether it wishes to proceed on Count 3 or Count 4.

il. Conclusion

In light of the foregoing, this Honorable Court should merge counts 3-4, and
bifurcate/sever the trial between counts 1 and 2 and the new charges in the
Superseding Indictment.

Dated this 3 day of December, 2018.

Respectfully Submitted:

/s/ Richard A. Schonfeld

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1 CERTIFICATE OF ELECTRONIC SERVICE
2 The undersigned hereby certifies that she is an employee of the Law
3 || Office of Chesnoff & Schonfeld and is a person of such age and discretion as to
4 || be competent to serve papers.
5 That on December 3, 2018, she served an electronic copy of Defendant’s
6 || Notice of Motion and Motion to Merge Counts 3 and 4 of the Superseding
7 || Indictment and Sever Counts 1 and 2, by electronic service (ECF) to the person
8 || (s) named below:
9 Adam L. Braverman, USA
Jonathan Shaprio, AUSA
10 United States Attorney’s Office
880 Front Street, Room 6293
M1 San Diego, CA 92101
Tel.: (619) 546-6784
12 jonathan.shapiro@usdoj.gov
13
/s/ Rosemary Reyes
14 Rosemary Reyes
Employee of Chesnoff & Schonfeld
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